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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE


         In re:                                                           Chapter 11

         MATTRESS FIRM, INC., et al.,1                                    Case No. 18-12241 (CSS)

                                    Debtors.                              (Jointly Administered)

                                                                          Ref. Docket Nos. 16 and 184

                             NOTICE OF FILING OF PROPOSED FINAL DIP ORDER

                  PLEASE TAKE NOTICE that, on October 5, 2018, Mattress Firm, Inc. and its
         affiliated debtors and debtors in possession in the above-captioned chapter 11 cases (collectively,
         the “Debtors”) filed the Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing
         Debtors to (A) Obtain Postpetition Secured Financing Pursuant to Section 364 of Bankruptcy
         Code and (B) Utilize Cash Collateral; (II) Granting Liens and Superpriority Administrative
         Expense Claims; (III) Granting Adequate Protection; (IV) Modifying Automatic Stay;
         (V) Scheduling a Final Hearing; and (VI) Granting Related Relief [Docket No. 16] (the
         “Motion”) with the United States Bankruptcy Court for the District of Delaware (the “Court”).

                PLEASE TAKE FURTHER NOTICE that, on October 9, 2018, the Court entered an
         order granting the relief requested in the Motion on an interim basis [Docket No. 184] (the
         “Interim Order”). A hearing to consider the Motion on a final basis is scheduled for October 29,
         2018 at 10:00 a.m. (ET) (the “Final DIP Hearing”).

                PLEASE TAKE FURTHER NOTICE that, attached hereto as Exhibit A, is a proposed
         form of order approving the Motion on a final basis (the “Proposed Final Order”). For the
         convenience of the Court and all interested parties, a blackline comparing the Proposed Final
         Order against the Interim Order is attached hereto as Exhibit B.

                PLEASE TAKE FURTHER NOTICE that the Debtors intend to present a final order,
         in substantially the form of the Proposed Final Order attached hereto as Exhibit A, at the Final
         DIP Hearing scheduled before the Honorable Christopher S. Sontchi, at the United States
         Bankruptcy Court for the District of Delaware, 824 N. Market Street, 5th Floor, Courtroom No. 6,
         Wilmington, Delaware 19801. The Debtors reserve all rights to modify the Proposed Final
         Order at or prior to the Final DIP Hearing.




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            The last four digits of Mattress Firm, Inc.’s federal tax identification number are 6008. The Debtors’ mailing
         address is 10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter 11
         cases, which are being jointly administered, a complete list of the Debtors and the last four digits of their federal tax
         identification numbers is not provided herein. This information may be obtained on the website of the Debtors’
         noticing and claims agent at http://dm.epiq11.com/MattressFirm or by contacting counsel for the Debtors.
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